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                Exhibit E
           FILED UNDER SEAL
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Geraldine W. Young

From:                             Geraldine W. Young
Sent:                             Friday, May 3, 2024 4:53 PM
To:                               'rob.mccallum@freshfields.com'; Bracewell, Mollie; Aycock, Jamie
Cc:                               Zeke DeRose III; Jonathan Wilkerson; Trevor.Young; Marc B. Collier; John McBride
Subject:                          Texas v. Google - Meet and Confer on Monday


Rob, Mollie and Jamie,

Following up on our hearing with the Special Master yesterday, there are a few issues we need to confer on, on Monday,
listed below. Feel free to add anything I’ve missed. The States are available to confer on Monday between 1-3 CT. Let
us know if a me works for you in that period. If not, we can try to ﬁnd other mes too.

        Google’s ROG Responses, served Wednesday 5/1
        Coun ng of 30(b)(6) and States Deposi ons

Addi onally, a few recent issues that we would like to confer with you on:
    A poten al clawback that occurred during the             and          – it is unclear to us the clawback status of
       GOOG-DOJ-27760500, used in both depos on 5/2, so would like conﬁrma on on the redac ons Google may or
       may not be asser ng as to that document
    Overall issues with the           30(b)(6) deposi on regarding his lack of prepara on, lack of knowledge on
       designated topics, and speaking objec ons in viola on of EDTX local rules

Thanks, Geraldine


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